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                     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, David Moore, a Special Agent (SA) with the Bureau of Alcohol, Tobacco, and

Firearms (ATF) being duly sworn, depose and state that:

                                     INTRODUCTION

       1.       I am employed as a Special Agent with the United States Department of

Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) and have been so

since March, 2022. Prior to Employment with ATF, I was employed by the Oklahoma

Department of Corrections. I have been employed in law enforcement for over twelve

years. I am a graduate of the Federal Law Enforcement Training Center and the ATF National

Academy; as a result of my training and experience as an ATF Special Agent, I am familiar

with Federal criminal laws. I am currently assigned to the Oklahoma City Field Office and

am charged with investigating violations of Federal Law, including violations of the Gun

Control Act of 1968, as amended in Title 18, United States Code, Sections 921 et seq. Based

on my training and experience, I know it to be unlawful for a person to knowingly sell, give,

or otherwise dispose of any firearm or ammunition to any person who is prohibited from

possessing them. Likewise, it is unlawful for a federally licensed firearms dealer to keep

incomplete, inaccurate, or improper records and to make false statements in the records it

is required to maintain pursuant to Title 18, United States Code, Section 923.

       2.       As a federal agent, I am authorized to investigate violations of United States

laws and to execute warrants under the authority of the United States.

       3.       I am investigating Raymond Anthony MUSSATTO (MUSSATTO).

MUSSATTO is the owner and operator of three different LLCs, each being Federal Firearms


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Licensees (“FFLs”), holding multiple federal licenses to, among other things, sell, transfer,

import, and manufacture firearms. These FFLs share at least one address where the FFLs

conduct business. One of the FFLs is also registered to the residence of MUSSATTO.

Specifically, MUSSATTO owns and operates the following FFLs, which are all located in

the Western District of Oklahoma:

            a. International Firearm Corporation LLC, located at 5701 East Reno Avenue,

               Suite E, Midwest City, Oklahoma;

            b. Tony’s Custom Creations LLC d/b/a Luxury Firearms, located at 5701 East

               Reno Avenue, Suite E, Midwest City, Oklahoma; and

            c. Sooner State Arsenal LLC, located at 5701 East Reno Avenue, Suite E,

               Midwest City, Oklahoma, and 12425 Steve Drive, Oklahoma City, Oklahoma,

               which 12425 Steve Drive is the reported residence of MUSSATTO, (together

               the “SUBJECT FFLS”).

      4.       As will be shown below, there is probable cause to believe that MUSSATTO,

through the SUBJECT FFLS, has violated Title 18, United States Code, Section 922(m)

which prohibits any licensed dealer from making a false entry in, failing to make an

appropriate entry in, or failing to properly maintain, any record which he is required to

keep pursuant to 18 U.S.C. § 923.

      5.       I submit this Application and Affidavit in support of a search warrant

authorizing a search of 5701 East Reno Avenue, Suite E, Midwest City, Oklahoma,

(“SUBJECT PROPERTY 1”) and 12425 Steve Drive, Oklahoma City, Oklahoma,

(“SUBJECT PROPERTY 2”) (together the “SUBJECT PROPERTIES”) which


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properties are owned, used, or occupied by MUSSATTO and the SUBJECT FFLS, and

which locations are further described in Attachment A, for all items more particularly

described in Attachment B.

   6. Since this Affidavit is being submitted for the limited purpose of securing a search

warrant, I have not included each and every fact known to me concerning this investigation.

I have set forth only the facts that I believe are necessary to establish probable cause to

believe that evidence of a crime, contraband, fruits of a crime, or other items illegally

possessed, or property designed for use, intended for use, or used in committing a crime

involving the foregoing violations are presently located at the SUBJECT PROPERTIES.

       7.       Based upon my training and experience, I know that FFLs are businesses

engaged in the acquisition and disposition of firearms. FFLs are required to follow certain

rules, regulations, and laws in order to maintain their license from ATF to engage in the

acquisition and disposition of firearms. An FFL must keep track of each of their firearms

in an acquisition and disposition book to include the sale, acquisition, transfer, destruction,

or loss of any firearms held in possession of the FFL. Persons attempting to purchase or

obtain a firearm from an FFL must fill out an ATF Form 4473 prior to completing the

purchase of the firearm. FFLs are required by the federal Brady Law to conduct a

background check prior to the sale or transfer of a firearm to a private individual. Failure

to complete a 4473 or complete a background check of the individual acquiring the firearm

is in violation of federal law. The FFL must then contact the National Instant Criminal

Background Check System (NICS) to confirm that they are allowed to complete the sale

of the firearm. NICS will give a transaction number to the FFL which is to be noted on


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box 19.b. of the ATF Form 4473. NICS will then perform a background check to determine

if there is something that would prohibit the purchaser from possessing the firearm. NICS

then provides the FFL with three possible outcomes of the background check. If a notice

to “Proceed” is given it means that there is nothing prohibiting the individual and the sale

can go through. If a notice of “Denied” is given it means that there is a prohibiting factor

with the individual and the sale can’t be made. If a notice of “Delayed” is given it means

that NICS needs to review more documentation to determine if the sale is to proceed or be

denied. This information is then logged into box 19.c. of the ATF Form 4473. If NICS

gives a proceed order, the FFL is required to keep the ATF Form 4473 for 20 years. If

NICS gives a denial order, the FFL is required to keep the ATF Form 4473 for 5 years.

       8.       I have received training that some FFLs have engaged in the illegal sale of

firearms “off the books” by concealing the identity of the real purchaser of the firearm and

making it look like a lawful purchase of the firearm has taken place. This concealment

occurs in several different ways. One technique to conceal an unlawful sale of a firearm is

when an FFL makes an illegal sale of a firearm but then adds that illegally sold firearm to a

previously completed 4473, which documented an actual lawful transfer of firearms, so that

it appears the illegally sold firearm was sold lawfully in another transaction. This is an

attempt to make it look like an individual acquired multiple firearms, when in fact one or

more of the firearms were actually sold to a separate individual who is also a prohibited

person. Another technique is for the FFL to use an individual’s information that can pass a

background check. The FFL will then falsify the Form 4473 by saying that the individual

was the purchaser of the firearm, when in fact the firearm was transferred to a different,


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prohibited person. In all of these scenarios, the FFL will alter or provide false information

in an attempt to conceal the fact that it sold unlawfully sold or transferred a firearm.

                        BACKGROUND OF THE INVESTIGATION

        9.       On January 19, 2023, Midwest City Police Department (MWCPD) Officer J.

Fittro responded to 5701 East Reno Avenue, Suite E, Midwest City, Oklahoma,

(SUBJECT PROPERTY 1), after a Midwest City sanitation worker found a large, but

unknown number of firearms in a dumpster. The dumpster was located near International

Firearm Corporation LLC (“IFC”), which uses and rents commercial space at SUBJECT

PROPERTY 1. MWCPD Lieutenant Isais Molina contacted ATF Special Agent (SA)

David Moore regarding the firearms found in the dumpster.




                Above: Radikal Arms, model NK-1, 12-gauge shotguns found in dumpster near IFC.

        10.      On January 19, 2023, SA Moore confirmed, using ATF records, that IFC is

a Federal Firearms Licensee located at SUBJECT PROPERTY 1. ATF records further

showed that MUSSATTO is the owner and responsible person for the federal firearms

license held by IFC.



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       11.    Prior to SA Moore’s arrival at IFC, Officer Fittro spoke on the telephone with

Stacy Hurst, an IFC employee. Ms. Hurst explained she was not presently located in

Oklahoma and neither was MUSSATTO. Ms. Hurst informed Officer Fittro that the

firearms found in the dumpster had manufacture defects and according to a letter that IFC

received from the ATF, those firearms needed to be destroyed.

       12.    SA Moore arrived at SUBJECT PROPERTY 1 and observed the firearms

in the dumpster outside of it. Upon closer examination, the firearms that SA Moore could

see had a single cut through one side of the magazine-well that extended up to the ejection

port. Despite the cut on the firearms, several of the firearms were function tested with

proper cycling. Based on the proper cycling of the firearms and his training and experience,

SA Moore believed the firearms were still functional despite being partially cut. In total,

agents and officers found 236 Radikal Arms, model NK-1, 12-gauge shotguns inside the

dumpster.

       13.    While looking at the dumpster with ATF employees and MWCPD officers,

SA Moore observed two males exit a loading dock located adjacent to IFC. SA Moore

approached the two men, who identified themselves as Greg Powell and Mike Keenum.

Mr. Powell told SA Moore that he had previously observed the same dumpster filled with

similar looking firearms approximately two or three times before January 19, 2023. Mr.

Powell reported the first time he saw firearms in the dumpster they appeared to be cut in

half. Mr. Powell was unable to provide an exact date, but reported that he saw potentially

cut-in-half firearms in the dumpster several months prior to January 19, 2023. Mr. Powell

said the other one or two times he saw the similar looking firearms in the same dumpster


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the firearms appeared to be cut in a manner similarly to how they were cut as observed on

January 19, 2023 – that being the single cut through one side of the magazine-well that

extended up to the ejection port. Mr. Keenum echoed a similar account of observing other

firearms in the dumpster on more than one occasion with similarly looking cuts.

      14.    Mr. Keenum informed ATF agents he was given two, uncut and fully

functional shotguns by an employee of IFC. Mr. Keenum was unable to provide and exact

date when he received the firearms, but reported it was approximately one month prior to

January 19, 2023. Mr. Keenum described the employee who gave him the firearms as a

young white male, approximately 17 to 18 years old, 5’10” tall, and weighing

approximately 135 pounds. Mr. Keenum did not know the employees name, however, he

reported the male drove a black colored Mercedes Benz. Keenum reported seeing the

young male employee at the business on nearly a daily basis, approximately four days per

week. Mr. Keenum also said that he has seen the man outside of IFC cutting firearms

approximately two days each week.

      15.    When asked to describe how he was provided the firearm, Mr. Keenum

reported the young white male was located outside of IFC with a saw cutting firearms.

Mr. Keenum said that he approached the man and began discussing the firearms and

expressed interest in owning one of the firearms. The man told Mr. Keenum the firearms

are defective and should not be shot. Mr. Keenum told the man that he did not intend to

shoot the guns, but rather wanted to hang the firearms on his wall. The male employee

permitted Mr. Keenum to take two uncut firearms and gave Mr. Keenum two magazines,

one for each firearm. Mr. Keenum told SA Moore it was clear between him and the


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employee that the firearms he was taking had not yet been cut by the man. Mr. Keenum

denied he was asked or required by the FFL to fill out ATF 4473 or perform a NICS

background for the transfer of those two firearms.

      16.      Mr. Keenum described the process by which the male was destroying the

firearms. The uncut firearms were brought outside from IFC in a gray colored trashcan.

The firearms were then removed from the trashcan, cut using a circular saw, then placed

into the large dumpster located near IFC—the same dumpster in which SA Moore and

other law enforcement located 236 Radikal Arms model NK-1 12-gauge shotguns.

      17.      On January 19, 2023, Mr. Keenum gave SA Moore the following two

firearms with accompanying magazines:

            a. Radikal Arms, model NK-1, 12-gauge shotgun, bearing serial number W-

               24014; and

            b. Radikal Arms, model NK-1, 12-gauge shotgun, bearing serial number W-

               06003.

      18.      A background check showed that Mr. Keenum is not prohibited from

possessing a firearm.

      19.      On January 19, 2023, SA Moore spoke with ATF Oklahoma City Industry

Operations Investigators Group (IOI group) Area Supervisor Ralph Reynolds who stated

MUSSATTO contacted him in late summer or early fall of 2022, asking how to properly

dispose of firearms he (MUSSATTO) imported into the United States. Reynolds advised

MUSSATTO to cut the firearms in three different places, all the way through the receiver,

so that the firearms would not function or be able to be put back together. MUSSATTO


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expressed cutting the firearms was too costly and asked if he could have them crushed

instead.     Reynolds advised MUSSATTO crushing the firearms was a viable option.

Reynolds further advised MUSSATTO to take before and after pictures of the firearms to

prove they were completely pulverized.

       20.      On January 23, 2023, Moore requested additional FFL information related

IFC. According to ATF records IFC currently possesses two FFL licenses, an importers

license and a manufacturers license, which licenses are associated to SUBJECT

PROPERTY 1. MUSSATTO also has two additional LLCs with licenses located at

SUBJECT PROPERTY 1. Tony’s Custom Creations LLC d/b/a Luxury Firearms has an

importers license and Sooner State Arsenal LLC has a dealers license. Furthermore,

Sooner State Arsenal LLC has two additional licenses, a dealer’s license and a

manufacturers license associated to SUBJECT PROPERTY 2, the reported home

residence of MUSSATTO. In total MUSSATTO has six different FFLs, listed under three

different LLCs, located at two different addresses—SUBJECT PROPERTY 1 and

SUBJECT PROPERTY 2. MUSSATTO is the only responsible person listed on any of

the licenses or LLCs.

       21.      On January 23, 2023, Moore conducted a search of the Cleveland County

Oklahoma Assessor’s Office (CCOAO) website and searched for SUBJECT

PROPERTY 2. CCOAO website shows MUSSATTO, Raymond Anthony-2017 Rev Trt

is the current owner of the property. Furthermore, utility records checked on January 23,

2023, linked SUBJECT PROPERTY 2 to a Tony Mussatto and have been in that name

since June 12, 2009.


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       22.    Based on SA Moore’s training and experience, it is a common practice for a

business engaged in the sale, transfer, or disposition of firearms, such as the SUBJECT

FFLS, to hold an additional federal firearms licenses at their place of residence for the

purpose of transferring and maintaining firearms and the related business records.

Furthermore, if an FFL maintains multiple locations, then it is common for owners and

operators of FFLS to transfer firearms and related documents between the various locations

in order to meet inventory needs and to efficiently maintain records. For the SUBJECT

FFLS, MUSSATTO is the sole proprietor for the LLCs and the accompanying six FFLs

held thereby. It is the belief of SA Moore that records related to the LLCs, specially, Sooner

State Arsenal LLC, which holds three FFLs between SUBJECT PROPERTY 1 and

SUBJECT PROPERTY 2 that firearms records regarding Sooner State Arsenal LLC will

be found at both locations. Furthermore, as a result of the common practice for FFLs held by

the same business to transfer firearms and records between locations, SA Moore believes

complete records and actual firearms held by the SUBJECT FFLS will only be able to

verified, validated and reviewed through a complete audit of all SUBJECT FFLS records.

       23.    Based on the aforementioned information, SA Moore believes MUSSATTO

and his six FFLs are engaged in business in the Western District of Oklahoma at SUBJECT

PROPERTY 1 and SUBJECT PROPERTY 2. It is further the belief of SA Moore that

business records and firearms located at the SUBJECT PROPERTIES will provide

evidence to confirm Radikal Arms model NK-1 12-gauge shotgun W-24014 and Radikal

Arms model NK-1 12-gauge shotgun W-06003 were transferred without the required

paperwork or background checks in violation of 18 U.S.C. § 922(m). Additionally,


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because federal regulation requires FFLs to properly dispose of or destroy the firearms, as

described to MUSSATTO by Reynolds and the firearms were found not properly disposed

of or destroyed, in a manner consistent with federal regulations as explained by Reynolds,

I have probable cause to believe that MUSSATTO may have falsely indicated in firearms

records that he properly destroyed the firearms, in violation of 18 U.S.C. § 922(m).

                                    CONCLUSION

       24.    Based on the aforementioned facts and circumstances, I believe there is

probable cause to believe evidence of a violation of 18 U.S.C. § 922(m) exists at the

SUBJECT PROPERTIES, as further described in attachments A and B. The basis of this

violation is that I have probable cause to believe that MUSSATTO and the SUBJECT

FFLS failed to properly complete the required documentation of the unlawful sale or

transfer of the two previously discussed Radikal Arms shotguns or provided false

information on the ATF Form 4473s to conceal the unlawful sale of those firearms, in

violation of 18 U.S.C. § 922(m). Furthermore, I have probable cause to believe that

MUSSATTO and the SUBJECT FFLS failed to properly complete the required

documentation or made a false statement regarding the disposition of the 236 Radikal Arms

shotguns found in a dumpster next to IFC, in violation of 18 U.S.C. § 922(m).




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                                    ATTACHMENT A

                             ADDRESS TO BE SEARCHED

                  12425 Steve Dr., Oklahoma City, Oklahoma 73165

                                        Description

     The subject property is located at 12425 Steve Drive, in the City of Oklahoma City,

County of Oklahoma County, in the State of Oklahoma. This is the residence of Raymond

Anthony MUSSATTO. It is also the address associated with MUSSATTO’s LLC and

Federal Firearm Licensee, Sooner State Arsenal LLC. The property is located on the north

side of Steve Drive. The 12425 Steve Drive premises consists of the following: A paved

driveway entrance, which starts at Steve Drive and splits into two separate driveways a

short distance north from Steve Drive. The eastern most driveway runs to the northwest

and the western most driveway runs to the west after the split. A black mailbox is located

on the east side of the driveway entrance, facing Steve Drive, with the numbers “12425”

on the side facing Steve Drive. On the eastern most driveway, there is a metal gate with

vertical bars extending across the driveway, which has two halves. There is a metal chain

wrapped around the centermost bar of each half, which is secured by a metal lock. On the

gate are two small black and white signs stating, “Beware of Dogs” and “24 Hour

Surveillance”, with face Steve Drive. Metal fencing, matching the construction of the gate,

extends a short distance to the east and west of the driveway.

     The western most driveway is lined with wooden posts in the shape of an upside down

“L”. There is one black light fixture hanging from each post, over the driveway. A short

distance west there is a metal gate with vertical bars, matching the construction of the metal

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gate on the easternmost driveway, with two halves.

       The rest of the premises is not visible from publicly accessible property.

     According to the Cleveland County Assessor’s records, 12425 Steve Dr is owned by

the Mussatto Raymond Anthony-2017 Revokable Trust. Comparing GIS maps provided

by the Cleveland County Assessor’s Office to publicly available GPS mapping systems,

indicate numerous structures, including a two story, single family, dwelling, is located on

the property. The only available image of the front of the property was taken, according

to the Cleveland County Assessor’s Office on November 19, 2010.




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                                    ATTACHMENT B
                                     Items to be Seized

The items to be seized from 5701 E Reno Avenue, Suite E, Midwest City, Oklahoma 73110

and 12425 Steve Dr., Oklahoma City, Oklahoma 73165 (together the “SUBJECT

PROPERTIES”) include the following:

       1)     Any and all business and/or personal records of firearms transactions and

financial records and other records or documents reflecting firearms activity or the

disposition of firearms proceeds to include physical and electronic records, including but

not limited to Acquisition and Disposition (A&D) Books, any ATF Firearm Forms, Federal

Firearm Licenses or applications, notes of financial transactions or firearms transactions,

and correspondence, including electronic mail transmissions, letters, faxes and notes,

relating to financial transactions or firearms transaction, including the identification of

customers, suppliers, associates partners and co-conspirators.

       2)     Computers, computer data, flash/jump drives, computer hard drives, external

hard drives, discs, etc. and other storage devices that can be used to save/store information

and data related to firearms transfers and transactions, to include the off-site viewing and

copying of such files or devices.

       3)     Any and all passwords, combinations, key-locks, biological scans, facial

recognition, passcodes or any other means or methods by which items either physical or

electronic are stored, held or possessed in order to obtain data or records of firearms

transactions and related information.


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      4)    Any and all firearms located at the SUBJECT PROPERTIES to include

Radikal Arms model NK-1 12-gauge shotguns pending disposal.

      5)    Conduct and audit and examine any and all firearms and records related to

the sale, transfer, purchase, movement or firearms into or out of the possession of

MOSSATTO or any of the FFLs held by MOSSATTO.




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